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                              United States Bankruptcy Court
                              FOR THE EASTERN DISTRICT OF VIRGINIA
                                                 Alexandria Division

In re:                                                         :

SUMAN VARDAN                                                   :    Case No. 18-13062-BFK
                                                                          (Chapter 7)
                            Debtor                             :


GREI, LLC                                                      :

                            Movant                             :

         -v-                                                   :

SUMAN VARDAN                                                   :
                                                                    Relief from Stay Matter
                            Debtor/Respondent                  :

         and                                                   :

THOMAS P. GORMAN, Trustee                                      :

                            Respondent                         :


                                            NOTICE OF MOTION
                                          FOR RELIEF FROM STAY

         PLEASE TAKE NOTICE that the undersigned will bring the Motion for Relief from Stay

set forth below, on for hearing before this Court at the United States Bankruptcy Court, 200 S.

Washington Street, Alexandria, Virginia 22314 on the 7th day of November, 2018 at 9:30 a.m., or

as soon thereafter as counsel can be heard.

                                                        NOTICE

       Your rights may be affected. You should read these papers carefully and discuss them
with your attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you
may wish to consult one.)


           Timothy J. McGary  Attorney at Law  8609 Westwood Center Drive, Suite 203  Vienna, Virginia 22182-7521
                                (703) 636-7107  Fax (703) 636-7108 Email: tjm@mcgary.com
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       If you do not wish the Court to grant the relief sought in this motion, or if you want the
Court to consider your views on the motion, then within 14 days from the date of service of this
motion, you must file a written response explaining your position with the Court and serve a copy
on the movant. Unless a written response is filed and served within this 14-day period, the Court
may deem opposition waived, treat the motion as conceded, and issue an order granting the
requested relief without further notice or hearing.

                                                   GREI, LLC
                                                   by Counsel

/s/Timothy J. McGary
Timothy J. McGary, #393167
Counsel for Movant
8609 Westwood Center Drive, Suite 203
Vienna, Virginia 22182
(703) 636-7107
(703) 636-7108 (Fax)
Email: tjm@mcgary.com



                               MOTION FOR RELIEF FROM STAY

       COMES NOW the Movant, GREI, LLC, and pursuant to 11 U.S.C. §(d)(1), Fed. R. Bankr.

P. 4001 and Local Bankruptcy Rule 4001(a)-1 files this Motion for Relief from Stay and in support

thereof states as follows:

                                       Parties and Jurisdiction

   1. The Movant is a limited liability company organized and existing under the laws of the

Commonwealth of Virginia and maintains its principal place of business at 1952 Gallows Rd, Suite

204, Vienna VA 22182.

   2. The Debtor is a natural person and who, upon information and belief, resides at 3409 Meyer

Woods, Lane, Fairfax, Virginia 22033.

   3. On September 10, 2018 the debtor filed his petition (“the Bankruptcy Petition”) for relief

pursuant to Chapter 13 of Title 11 of the United States Code.




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   4. Pursuant to 11 U.S.C. §362, a stay has been in effect since the filing of the Bankruptcy

Petition prohibiting any action against the Debtor or her property.

   5. This court has jurisdiction to hear and decide this matter pursuant to 28 U.S.C. §1334 and

the Order of the United States District Court for the Eastern District of Virginia referring all

bankruptcy matters to this court, entered on August 15, 1984.

                                       Allegations of Fact

   6. On the Plaintiff was the high and successful bidder to acquire a certain parcel of real

property (the “Real Property”) situated in the Commonwealth of Virginia, County of Fairfax, and

commonly referred to as 3409 Meyer Woods Lane, Fairfax, Virginia 22033, and more fully

described as follows;

       Lot 10, Thompson Road Property, (Oak Hill Reserve II) as the same appears duly
       dedicated, platted and recorded in Deed Book 16579 at Page 1676 among the land
       records of Fairfax County, Virginia. (Tax Map 035-3- -26- -0010).


   7. On September 21, 2018 the Real Property was conveyed to the Movant by deed from

Samuel I. White, P.C., the substitute trustee in the above referenced foreclosure action.

   8. The Movant seeks and order of this Court modifying or lifting the automatic stay in this

matter to the extent required for the Movant to prosecute an Unlawful Detainer action the General

District Court of Fairfax County.

       WHEREFORE the Movant prays that this Court make and enter such orders as are

necessary and proper to grant to the Movant the relief sought in this matter, to prosecute an

Unlawful Detainer action the General District Court of Fairfax County..

                                                 GREI, LLC
                                                 by Counsel




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/s/Timothy J. McGary
Timothy J. McGary, #393167
Counsel for Movant
8609 Westwood Center Drive, Suite 203
Vienna, Virginia 22182
(703) 636-7107
(703) 636-7108 (Fax)
Email: tjm@mcgary.com


                                CERTIFICATE OF SERVICE

        I hereby certify that a true copy of the foregoing document was served upon the following
persons, pursuant to Fed. R. Bank. P. 7004(b) by mailing a copy on October 17, 2018 to the persons
listed below:

 Bobbie U Vardan                                    Suman Vardan
 P.O. Box 25                                        3409 Meyerwoods lane
 Great Falls, VA 22066                              Fairfax, VA 22033

 Thomas P. Gorman
 300 N. Washington St. Ste. 400
 Alexandria, VA 22314
                                                /s/Timothy J. McGary
                                                Timothy J. McGary




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